                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                               GREEN BAY DIVISION

                                       )
MICHELLE L. O’LAIRE,                   )
                            Plaintiff, )
                                       )
             vs.                       )                         Case No.: 2:18-cv-00320
                                       )
NORTHSTAR LOCATION SERVICES, LLC, )
a New York Limited Liability Company,  )
                                       )
                            Defendant. )

                         RESPONSE TO ORDER TO SHOW CAUSE

       Plaintiff, MICHELLE L. O’LAIRE, respectfully submits this Response to the Court’s

Order to Show Cause [Doc. 8] why this case should not be dismissed for failure to diligently

prosecute.

       The Parties reached a settlement subsequent to the Court’s Order extending Defendant’s

deadline to file a response to the Complaint; however, shortly thereafter, Defendant’s counsel,

Paul Gamboa, separated from his firm and no longer represents the Plaintiff. Although Mr.

Gamboa did not file a substitution of attorney, a different attorney from his firm has been in

contact with Plaintiff’s counsel and provided a draft of the settlement agreement. The Parties

expect to complete their settlement and file a Stipulation of Dismissal by July 6, 2018.

                Respectfully submitted this 13th Day of June 2018,

                                                     s/ Andrew T. Thomasson
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